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11

12                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
13                                     SAN FRANCISCO DIVISION

14   WAYMO LLC,                                       Case No. 3:17-cv-00939-WHA

15                                  Plaintiff,        CERTIFICATE OF SERVICE

16                     v.

17   UBER TECHNOLOGIES, INC.,
     OTTOMOTTO LLC, OTTO TRUCKING
18   LLC

19                                  Defendants.

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                                            CERTIFICATE OF SERVICE
     DOCS_SF:104475.1 85647/001
        Case 3:17-cv-00939-WHA Document 2726-9 Filed 11/05/20 Page 2 of 2



 1   STATE OF CALIFORNIA                      )
                                              )
 2   CITY OF SAN FRANCISCO                    )

 3          I, Oliver Carpio, am employed in the city and county of San Francisco, State of
     California. I am over the age of 18 and not a party to the within action; my business address is
 4   150 California Street, 15th Floor, San Francisco, California 94111-4500.
 5           On November 5, 2020, I caused to be served the following documents in the manner
     stated below:
 6
                  DEFENDANT UBER TECHNOLOGIES, INC.’S NOTICE OF MOTION
 7                 AND MOTION TO MODIFY THE INTERIM MODEL PROTECTIVE
                   ORDER
 8
                  DECLARATION OF DEBRA GRASSGREEN IN SUPPORT OF
 9                 DEFENDANT’S MOTION TO MODIFY THE INTERIM MODEL
                   PROTECTIVE ORDER
10                [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION TO
                   MODIFY THE INTERIM MODEL PROTECTIVE ORDER
11

12
              (BY EMAIL) On November 5, 2020, I caused to be served the above-described
                documents by email to the parties indicated on the service list below at the
13                     indicated email address.

14
                   Attorneys for Google LLC                   Attorneys for Anthony S. Levandowski
15
     MUNGER, TOLLES & OLSON LLP                              KELLER BENVENUTTI KIM LLP
16   Thomas B. Walper (thomas.walper@mto.com)                Tobias S. Keller (tkeller@kbkllp.com)
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17   Alexander S. Gorin (alex.gorin@mto.com)

     KEKER, VAN NEST & PETERS LLC                            GOODWIN PROCTER LLP
18
     Rachael E. Meny (rmeny@keker.com)                       Brett Schuman (bschuman@goodwinlaw.com)
     Thomas E. Gorman (tgorman@keker.com)                    Rachel M. Walsh (rwalsh@goodwinlaw.com)
19                                                           Hong-An Vu (hvu@goodwinlaw.com)
20                   Counsel for Tyto Group                            Counsel for Peak Trust
21   SAWYER & LABAR LLP                                      JERMAIN, DUNNAGAN & OWENS, P.C.
     Adrian Sawyer (sawyer@sawyerlabar.Com)                  Diane F. Vallentine (dvallentine@jdolaw.com)
22

23          I declare under penalty of perjury, under the laws of the State of California and the
     United States of America that the foregoing is true and correct.
24
              Executed on November 5, 2020 at San Francisco, California.
25
                                                                    /s/ Oliver Carpio______________
26                                                                      Legal Assistant
27

28

                                              CERTIFICATE OF SERVICE
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